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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

 In Re: Vioxx                                 *
 Products Liability Litigation                *
                                              *
 This Document Relates To:                    *     MDL No. 05-1657
                                              *
                                              *     JUDGE FALLON
 Anna Daluison, et al.                        *
 v. Merck & Co., Inc.                         *     MAGISTRATE JUDGE
                                              *     KNOWLES
 No. 06-1197                                  *
                                              *
 Only with regard to:                         *
 Alice Rys, Genevieve Scalise, Anna           *
 Daluiso, Anthony Daluiso, Christine          *
 DiPasquale, James DiPasquale

 ********************************

                         ORDER OF DISMISSAL WITH PREJUDICE

               Plaintiff Alice Ryse, Genevieve Scalis, Anna Daluiso, Anthony Daluiso, Christine

DiPasquale and James DiPasquale and Defendant, Merck & Co., Inc. hereby stipulate, pursuant

to Fed. R. Civ. Proc. 41(a)(1), to a dismissal with prejudice all of claims against Merck & Co.,

Inc. and all other defendants in the above-styled lawsuit, each party to bear its own costs.



       NEW ORLEANS, LOUISIANA, this ____ day of ________________, 2008.



                                                      _______________________
                                                          DISTRICT JUDGE




                                                                                               948133v.1
